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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

CHARLES BOYLE,                                   )
                                                 )
     Plaintiff,                                  )       Case No.: 09 C 1080
                                                 )
              v.                                 )       JUDGE BUCKLO
                                                 )
UNIVERSITY OF CHICAGO, et al.                    )       MAGISTRATE JUDGE DENLOW
                                                 )
     Defendants.                                 )


            PLAINTIFF’S RESPONSE TO CITY OF CHICAGO DEFENDANTS'
             LOCAL RULE 56.1(a)(3) STATEMENT OF UNDISPUTED FACTS

       NOW COMES the Plaintiff, CHARLES BOYLE, by and through his attorneys, ED FOX

& ASSOCIATES, and hereby submits his Response to City’s Local Rule 56.1 Statement of

Undisputed Facts:



       1.         Plaintiff, Charles Boyle, is a Chicago Resident. Exhibit ("Exh.") A

(Complaint), 3.


       ANSWER:           This paragraph is undisputed.


       2.         Chicago Officers are Chicago Residents. Exh. A (Complaint), 1.


       ANSWER:           This paragraph is undisputed.



        3.         Defendant City of Chicago is a municipal corporation within the State of

Illinois and, at the time alleged in Plaintiff's Complaint, employed the Chicago Officers.

Exh. A (Complaint), 10-12.
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          ANSWER: This paragraph is undisputed.


                                JURISDICITON AND VENUE


          4.    This Court has jurisdiction under 42 U.S.C. §1983. Exh. A (Complaint),1 1.


          ANSWER: This paragraph is undisputed.


          5.    Venue is proper in the Northern District of Illinois, Eastern Division. Exh. A

(Complaint), 2.


          ANSWER: This paragraph is undisputed.


                                            FACTS



          6.    On or about October 18, 2008, Plaintiff Charles Boyle, and three friends,

Kenneth Roberson, Ashley Glover, and Steven Sinclair were driving in a car after hanging out

at a local bar. Exh. B (Charles Boyle Deposition) at p. 29, 38, 46, 123; Exh. C (Kenneth

Roberson Deposition) at p. 19. Exh. D (Ashley Glover Deposition) at p. 44-45.


          ANSWER: This paragraph is undisputed.


          7.    The car, owned by Ashley Glover, and driven by Steven Sinclair, had a

mechanical problem which caused the car's horn sound off occasionally. The horn would sound

in an uninterrupted manner. Exh. B (Charles Boyle Deposition) at p. 29, 38, 46, 123; Exh. C

(Kenneth Roberson Deposition) at p 20, 28; Exh. D (Ashley Glover Deposition) at p. 28-30, 44-

45.


          ANSWER: This paragraph is undisputed.
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        8.     Plaintiff and his friends went to 53rd Street and Blackstone Avenue so Steven

and Kenneth could use a nearby ATM, shortly before pulling over, the car's horn went off in an

uninterrupted manner and continued sounding until right around the time they pulled over. Exh.

B (Charles Boyle Deposition) at p. 35, 38; Exh. C (Kenneth Roberson Deposition) at p. 23-24,

28, 33-34. Exh.D (Ashley Glover Deposition) at p. 41-42, 51; Exh. E (Clarence Moore

Deposition) at p. 29-31, 37-38.


       ANSWER:        This paragraph is undisputed.




        9.     Steven stopped the car on the south west corner of the intersection of 53rd

Street and Blackstone Avenue, facing east bound, approximately two car lengths from the

intersection. Exh. B (Charles Boyle Deposition) at p. 50-51; Exh. C (Kenneth Roberson

Deposition) at p. 29, 31-33; Exh. E (Clarence Moore Deposition) at p. 37-40.


        ANSWER: This paragraph is undisputed.


        10.    Steven and Kenneth went to the ATM while Plaintiff and Ashley stayed in the

vehicle. Exh. B (Charles Boyle Deposition) at p. 51; Exh. C (Kenneth Roberson Deposition) at p.

34-35; Exh. D (Ashley Glover Deposition) at p. 54-55; Exh. E (Clarence Moore Deposition) at

p.40, 42, 44-45.


        ANSWER: This paragraph is undisputed.


        11.    Plaintiff exited the vehicle to check under the hood in an attempt to fix the

horn problem. Exh. B (Charles Boyle Deposition) at p. 52; Exh. C (Kenneth Roberson

Deposition) at p 39-40; Exh. D (Ashley Glover Deposition) at p. 56-58; Exh. E (Clarence
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Moore Deposition) at p. 44-47.


        ANSWER: This paragraph is undisputed.


        12.    Shortly thereafter, University of Chicago Police approached Plaintiff and a

struggle between Plaintiff and the University of Chicago Police Officers ensued for a brief

period of time. Exh. B (Charles Boyle Deposition) at p. 52-56, 59-60, 62-63, 72; Exh. D

(Ashley Glover Deposition) at p. 58-59, 79-81; Exh. E (Clarence Moore Deposition) at p. 49-

52; Exh. F (Larry Torres Deposition) at p. 24-25, 51-56.

       ANSWER:        Plaintiff objects: Defendant has mischaracterized the evidence in the
record. Plaintiff moves to strike paragraph 12. See Nair v. Principi, 2005 WL 1850358 *2 (N.D.
Ill. Aug 10, 2005) (Where the Court agrees that statements of facts are misleading or
mischaracterize the evidence, it is appropriate for the Court to disregard facts not supported by
the cited evidence.) The record is mischaracterized because Plaintiff did not get into a struggle
with University officers.
       However, without waiving said objection, Plaintiff disputes the facts alleged in paragraph
12. After Boyle turned back to look at the engine of the car, a University officer said to Boyle
“show me some damn ID.” (Ex. B, p. 59; Ex. D p. 70). Boyle asked this officer why. (Id.).
Boyle then turned around to face the officer who asked him for ID. (Ex. B, p. 60). The officer
then told Boyle words to the effect of “show me some f[uck]ing ID”. (Ex. B, p. 62; Ex. D, p.
71).   Boyle then stated to the officer that he didn’t have a problem with authority, but simply
was asking why. (Ex. B, p. 62). Boyle then heard Moore state “I see we’re going to have to deal
with you.” (Ex. B, p. 63).
       Officer Moore grabbed Boyle, turned him around, and slammed him onto his squad car

parked directly in front of Glover’s car. (Ex. B, p. 63; Ex. D., p. 66). Moore then grabbed Boyle

by the collar and asked again for Boyle’s ID. (Ex. B, p. 64). Boyle again asked “why” and

Moore stated “because I said so.” (Ex. B, p. 64). As Moore slammed Boyle into the car, Torres

punched Boyle in the back and hit him in the stomach with a flashlight. (Ex. B, pp. 67,75).
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Boyle then felt Torres starting to pull his pants down. (Ex. B, p. 75). Boyle heard Moore say

“we’re going to get your ass.” (Ex. B, p. 70).

       Boyle went down to the ground as Moore and Torres kicked and hit Boyle. Boyle said to

the officers “I’m not doing anything, please stop hitting me” while the officers continued to

strike Boyle and said “shut the fuck up.” (Ex. B, pp. 71-72). When Boyle was on his knees and

on the ground, Glover saw the Moore and Torres’s legs moving and kicking Boyle. (Ex. D, p.

109). Boyle stated “I’m not resisting. Please stop kicking me.” (Ex. D, p. 109). Moore and

Torres kicked Boyle for several minutes. (Ex. D, p. 110). Glover did not see Boyle wrestling

with any officers, nor did she see Boyle pick up any of the officers. (Ex. D, p. 115).




        13.    At some point during the physical altercation between Plaintiff and the University

of Chicago Police Officers, one of the University of Chicago Police Officers called for back-up

and several units from the University of Chicago Police as well as the Chicago Police responded

to provide assistance. Exh. B (Charles Boyle Deposition) at p. 7677; Exh. C (Kenneth Roberson

Deposition) at p. 44, 47, 50, 82; Exh. D (Ashley Glover Deposition) at p. 152-54; Exh. E

(Clarence Moore Deposition) at p. 71-74, 80; Exh. F (Larry Tones Deposition) at p. 60, 64, 66;

Exh. G (Vincent Darling Deposition) at p. 14-16; Exh. H (Carl Martin Deposition) at p. 10-11;

Exh. I (Oscar Galarza Deposition) at p. 12, 14; Exh. J (Arthur Gillespie Deposition) at p. 14-16;

Exh. K (Michael Kwiatkowski Deposition) at p. 15-17.


        ANSWER: This paragraph is undisputed.


        14.    Plaintiff was on the ground, handcuffed, and then lifted up off the ground and

"slammed" against a car before he saw what he thought were City of Chicago Officers. Exh. B
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(Charles Boyle Deposition) at p.84-8'7, 112-14; Exh. D (Ashley Glover Deposition) at p. 126;

Exh. E (Clarence Moore Deposition) at p.77-79, 80.


        ANSWER: This paragraph is undisputed.


        15.    The first time Plaintiff saw what he assumed were City of Chicago Police

Officers, they were standing near a City of Chicago Police car, but only was certain that the

Chicago Police were present after he was put in the Chicago Police squad car. Exh. B (Charles

Boyle Deposition) at p. 112.


        ANSWER: This paragraph is undisputed.


        16.    The earliest anyone recalls seeing a City of Chicago Officer, not necessarily the

Officers Darling and Martin, on scene was towards the very end of the physical altercation after

Plaintiff was in handcuffs. Exh. B (Charles Boyle Deposition) at p. 112, 121; Exh. C (Kenneth

Roberson Deposition) at p. 55-56, 61-62, 82-83; Exh. D (Ashley Glover Deposition) at p. 154;

Exh. E (Clarence Moore Deposition) at p. 114; Exh. F (Larry Torres Deposition) at p. 52; Exh. K

(Michael Kwiatkowski Deposition) at p. 28, 43.

       ANSWER:        Plaintiff objects: Defendant has mischaracterized the evidence in the
record. Plaintiff moves to strike paragraph 16. See Nair v. Principi, 2005 WL 1850358 *2 (N.D.
Ill. Aug 10, 2005) (Where the Court agrees that statements of facts are misleading or
mischaracterize the evidence, it is appropriate for the Court to disregard facts not supported by
the cited evidence.) The record is mischaracterized because City of Chicago officers arrived
before the end of the altercation and Officer Torres saw City of Chicago officers allegedly before
Boyle was placed in handcuffs.
       However, without waiving said objection, Plaintiff disputes the facts alleged in paragraph

16. Moore and Torres were repeatedly kicking Boyle on the ground as two City squad cars

pulled up on the scene. (Ex. D, pp. 118,152; Ex. C, p. 47). At the same time, newly arrived
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University officers ran out of their squad cars and immediately proceeded to run over to and kick

Boyle for about one to two minutes. (Ex. D., pp. 116,120,121). In total, City officers watched

the University officers kick and beat Boyle for about 2-5 minutes. (Ex. D., pp. 116,120,121; Ex.

C, p. 83).     Torres claims that during the altercation with Boyle he had the wind knocked out of

him for a couple of seconds and when the assisting officers came he let go of Boyle because he

was tired. (Ex. F, p. 64). Torres was winded and leaned over, so he did not see how Officer

Moore and the assisting University officers tried to get Boyle down to the ground. (Ex. F, p. 67).

Torres also did not see any officers place handcuffs on Boyle. (Ex. F, p. 70). Before Boyle was

in handcuffs but after Torres was leaning over, Torres saw additional University and City

officers on the scene. (Ex. F, p. 73).




         17.     Defendant Officer Darling and Martin were the third Chicago Police Unit to

arrive on scene and had no information regarding the specifics of Plaintiff's interaction

with the University of Chicago Police, and saw no use of force by the University of

Chicago Officers. Exh. C (Kenneth Roberson Deposition) at p. 82; Exh. G (Vincent

Darling Deposition) at p. 16, 17, 45; Exh. H (Carl Martin Deposition) at p. 10-14, 40, 48;

Exh.K (Michael Kwiatkowski Depostion) at p. 43.

       ANSWER:          Plaintiff objects: Defendant has mischaracterized the evidence in the
record. Plaintiff moves to strike paragraph 17. See Nair v. Principi, 2005 WL 1850358 *2 (N.D.
Ill. Aug 10, 2005) (Where the Court agrees that statements of facts are misleading or
mischaracterize the evidence, it is appropriate for the Court to disregard facts not supported by
the cited evidence.) The record is mischaracterized because City of Chicago officers Darling and
Martin arrived before the end of the altercation and Officer Torres saw City of Chicago officers
allegedly before Boyle was placed in handcuffs.
       However, without waiving said objection, Plaintiff disputes the facts alleged in paragraph
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17. Moore and Torres were repeatedly kicking Boyle on the ground as two City squad cars

pulled up on the scene. (Ex. D, pp. 118,152; Ex. C, p. 47). At the same time, newly arrived

University officers ran out of their squad cars and immediately proceeded to run over to and kick

Boyle for about one to two minutes. (Ex. D., pp. 116,120,121). In total, City officers watched

the University officers kick and beat Boyle for about 2-5 minutes. (Ex. D., pp. 116,120,121; Ex.

C, p. 83).    Torres claims that during the altercation with Boyle he had the wind knocked out of

him for a couple of seconds and when the assisting officers came he let go of Boyle because he

was tired. (Ex. F, p. 64). Torres was winded and leaned over, so he did not see how Officer

Moore and the assisting University officers tried to get Boyle down to the ground. (Ex. F, p. 67).

Torres also did not see any officers place handcuffs on Boyle. (Ex. F, p. 70). Before Boyle was

in handcuffs but after Torres was leaning over, Torres saw additional University and City

officers on the scene. (Ex. F, p. 73).

       After lifting Boyle up, Officer Moore slammed Boyle against the trunk of a squad car.

(Ex. B, p. 87). Darling and Martin, who were still standing next to their squad car, then saw

Torres, Moore, and Galarza walk Boyle over to their City patrol car and place Boyle into the

back seat. (Ex. B, p. 115-116; Ex. G, p. 18). Therefore, Darling and Martin had to be present

when the University officers kicked Boyle was on the ground as they were out of their cars

before Boyle was stood up and walked over to their vehicle.



        18.     Plaintiff and his friends cannot recall specifically who these first Chicago Police

Officers were; they cannot describe their approximate height or weight, and they are unsure of

their race, except that one was possibly African American. Exh. B (Charles Boyle Deposition)

at p. 118-119; Exh. C (Kenneth Roberson Deposition) at p. 83; Exh. D (Ashley Glover
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Deposition) at p. 159.

        ANSWER:           Plaintiff objects: Defendant has mischaracterized the evidence in the
record. Plaintiff moves to strike paragraph 18. See Nair v. Principi, 2005 WL 1850358 *2 (N.D.
Ill. Aug 10, 2005) (Where the Court agrees that statements of facts are misleading or
mischaracterize the evidence, it is appropriate for the Court to disregard facts not supported by
the cited evidence.) The record is mischaracterized because Plaintiff’s incident report does not
reflect an altercation.
        However, without waiving said objection, Plaintiff disputes the facts alleged in paragraph
18 in part. Boyle described the City officers as follows: One of the officers was a dark-skinned
guy, with some facial hair, average build. (Ex. B, p. 118-119). Glover described three to four
City of Chicago officers, all male, and remembered one black officer. (Ex. D, p. 159).




        19.     Officer Darling is 5'10, 215 lbs, is African American with a medium complexion

and had a moustache; Officer Martin is approximately 5' 10" , 235 lbs, is African American with

a dark complexion and a moustache; Officer Mark Jones who was first on the scene is 5'9" , 160

lbs, is African American with a medium complexion and no facial hair; Sgt. Witczak is

approximately 5' 10", 175 lbs, has no facial hair and is Caucasian. Exh. L (Affidavit of Vincent

Darling).


        ANSWER: This paragraph is undisputed.


        20.     Plaintiff is just slightly taller than 5'11" tall and about 235 lbs and played

football at the University of Illinois. Exh. B (Charles Boyle Deposition) at p. 8-10.


        ANSWER: This paragraph is undisputed.


        21.     Officers Darling and Martin arrived on scene and saw two other City of

Chicago squad cars in addition to theirs, and maybe three to four University of Chicago
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squad cars. Officers Darling and Martin saw Plaintiff in handcuffs. Exh. E (Clarence Moore

Deposition) at p. 71-74, 80; Exh. F (Larry Tones Deposition) at p. 52; Exh. G (Vincent

Darling Deposition) at p. 17-18; Exh. H (Carl Martin Deposition) at p. 10-14.

       ANSWER:         Plaintiff disputes the facts alleged in paragraph 21 in part. Plaintiff does

not dispute Darling and Martin saw Plaintiff in handcuffs. Plaintiff disputes all other facts

contained in paragraph 21. In total, City officers watched the University officers kick and beat

Boyle on the ground for about 2-5 minutes. (Ex. D., pp. 116,120,121; Ex. C, p. 83). After lifting

Boyle up, Officer Moore slammed Boyle against the trunk of a squad car. (Ex. B, p. 87).

Darling and Martin, who were still standing next to their squad car, then saw Torres, Moore, and

Galarza walk Boyle over to their City patrol car and place Boyle into the back seat. (Ex. B, p.

115-116; Ex. G, p. 18). Therefore, Darling and Martin had to be present when the University

officers kicked Boyle was on the ground as they were out of their cars before Boyle was stood up

and walked over to their vehicle.



        22.    Upon arriving at the scene Officers Darling observed one University of Chicago

Officer with Plaintiff and learned that Plaintiff had resisted arrest and that the University of

Chicago Officers wanted to sign complaints. Exh. G (Vincent Darling Deposition) at p. 14-16.

       ANSWER:         Plaintiff objects: Defendant has mischaracterized the evidence in the
record. Plaintiff moves to strike paragraph 22. See Nair v. Principi, 2005 WL 1850358 *2 (N.D.
Ill. Aug 10, 2005) (Where the Court agrees that statements of facts are misleading or
mischaracterize the evidence, it is appropriate for the Court to disregard facts not supported by
the cited evidence.) The record is mischaracterized because Plaintiff did not resist arrest.
       However, without waiving said objection, Plaintiff disputes the facts alleged in paragraph
12. See Plaintiff’s Answer to Defendants’ Fact #12.
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        23.     At that same time, Officer Martin spoke to their supervisor who told him they

would be the transport vehicle because the other City of Chicago Officer on scene was working

alone and it is procedure to transport prisoners in a two-man car. Exh. H (Carl Martin

Deposition) at p. 15.

        ANSWER:           This paragraph is undisputed.

        24.     The University of Chicago Officers walked Plaintiff to Officers Darling and

Martin's squad car, placed him inside, and Officers Darling and Martin transported Plaintiff to

the police station, processed the arrest paper work for Plaintiff, which included preparing the

complaints with the help of the complaining witness University of Chicago Police Officer

Moore. Exh. B (Charles Boyle Deposition) at p. 87, 90; Exh. E (Clarence Moore Deposition) at

p. 103-05; Exh. G (Vincent Darling Deposition) at p. 24, 28-33; Exh. H (Carl Martin Deposition)

at p. 16-17, 22; Exh M (Arrest Report and Complaints).


        ANSWER:           This paragraph is undisputed.




         25.    After processing Plaintiff, Officers Darling and Martin had no further role in

 Plaintiff's criminal case and did not testify in the criminal case. Exh. H (Carl Martin

 Deposition) at p. 45; Exh. N (Vincent Darling and Carl Martin Answer's to interrogatories) at

 15.

        ANSWER:           Plaintiff objects: Defendant has mischaracterized the evidence in the
record. Plaintiff moves to strike paragraph 25. See Nair v. Principi, 2005 WL 1850358 *2 (N.D.
Ill. Aug 10, 2005) (Where the Court agrees that statements of facts are misleading or
mischaracterize the evidence, it is appropriate for the Court to disregard facts not supported by
the cited evidence.) The record is mischaracterized because Plaintiff’s incident report does not
reflect an altercation.
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       However, without waiving said objection, Plaintiff disputes the facts alleged in paragraph

25. Darling and Martin took Boyle down to the 21st District Police Station for processing. (Ex.

G, p. 21). Moore and Torres followed Darling, Martin and Boyle to the 21st district station. (Ex.

G, p. 29). Moore told Darling in the 21st District Station that he had made a stop on Boyle

because the hood on his car was up. (Ex. G, p. 31). Moore also told Darling that he and Boyle

got into a verbal altercation, and that Moore took Boyle down to the ground. (Ex. G, p. 31).

Torres told Darling that he assisted Moore in calming Boyle down and placed Boyle in custody.

(Ex. G, p. 31). Darling asked Moore and Torres if they were ready to sign criminal complaints

against Boyle. (Ex. G, p. 32). Darling wrote out the information that was originally contained

on the criminal complaint forms and signed the complaints. (Ex. E, p. 105).




       26.    Plaintiff's criminal case was dismissed based on his motion to suppress his

arrest, after the complaints were amended by the State's Attorney. Exh 0 (People v.

Charles Boyle, 08 MC 1277951) at p. 87-89; Exh. P (Certified Statement of Disposition).


       ANSWER:        This paragraph is undisputed.




                                            BY:       s/ Jonathan R. Ksiazek
                                                      Jonathan R. Ksiazek
                                                      ED FOX & ASSOCIATES
                                                      Attorneys for Plaintiff
                                                      300 West Adams, Suite 330
                                                      Chicago, Illinois 60606
                                                      (312) 345-8877
                                                      jksiazek@efox-law.com
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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

CHARLES BOYLE,                                )
                                              )
     Plaintiff,                               )    Case No.: 09 C 1080
                                              )
              v.                              )    JUDGE BUCKLO
                                              )
UNIVERSITY OF CHICAGO, et al.                 )    MAGISTRATE JUDGE DENLOW
                                              )
     Defendants.                              )

                                       NOTICE OF FILING

       To:        Steven Puiszis             Helen C. Gibbons
                  Hinshaw & Culbertson       Assistant Corporation Counsel
                  222 North LaSalle Street   30 N. LaSalle Street, Suite 1400
                  Suite 300                  Chicago, IL 60602
                  Chicago, IL 60601-1081

       PLEASE TAKE NOTICE that on May 6, 2010, the undersigned filed with the Clerk of
this Court, PLAINTIFF’S RESPONSE IN OPPOSITION TO THE CITY OF CHICAGO
DEFENDANTS’ LOCAL RULE 56.1 STATEMENT OF UNDISPUTED FACTS, service of
which is being made upon you.
                                                   s/Jonathan R. Ksiazek
                                                  Jonathan R. Ksiazek
                                                   ED FOX & ASSOCIATES
                                                   300 West Adams, Suite 330
                                                   Chicago, IL 60606
                                                   (312) 345-8877


                                      PROOF OF SERVICE

        I, Jonathan R. Ksiazek, an attorney, under penalty of perjury, and state that on May 6,
2010, service is being made in accordance with the General Order on Electronic Case Filing
section XI.

                                                           s/Jonathan R. Ksiazek
                                                             Jonathan R. Ksiazek
